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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHERINE MARINARO and WHITNEY
VAN DER DOES,

                           Plaintiffs,                      ORDER OF DISMISSAL

             - against -                                        20 Civ. 6939 (PGG)

CSC GENERATION HOLDINGS, INC.,
OKL HOLDINGS, INC., ONE KINGS
LANE, LLC and JUSTIN YOSHIMURA, in
his individual and professional capacities,

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               The Court having been advised that all claims asserted herein have been settled, it

is ORDERED that the above-entitled action be, and hereby is, dismissed with prejudice but

without costs; provided, however, that if the settlement is not consummated within thirty days of

this order, either party may apply by letter within the thirty-day period for restoration of the

action to the calendar of the undersigned, in which event the action will be restored. The Clerk

of Court is directed to close the case. Any pending dates and deadlines are adjourned sine die,

and any pending motions are moot.

Dated: New York, New York
       April 16, 2021
